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 1     John E. Lord (CA SBN 216111)
       Email: jlord@onellp.com
 2     ONE LLP
       9301 Wilshire Blvd, Penthouse Suite
 3     Beverly Hills, CA 90210
       Telephone: (310) 866-5157
 4     Facsimile: (310) 943-2085
 5     Amanda G. Hyland (admitted pro hac vice)
       Email: ahyland@taylorenglish.com
 6     William Scott Creasman (admitted pro hac vice)
       Email: screasman@taylorenglish.com
 7     TAYLOR ENGLISH DUMA LLP
       1600 Parkwood Circle, Suite 400
 8     Atlanta, GA 30339
       Telephone: (770) 434-6868
 9     Facsimile: (770) 434-7376
10     Counsel for Defendants
       Big Bang Vape Co., LLC, Unified Vape Distribution,
11     Inc., True Lab Creations, Inc., and Taylor Craig
12
                                 UNITED STATES DISTRICT COURT
13
                  CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
14
15     MIKE SARIEDDINE, an individual               Case No. 2:17-cv-989-DSF-SK
                                                    Hon. Dale S. Fischer
16                  Plaintiff,
                                                    DEFENDANTS’ NOTICE OF MOTION
17           v.
                                                    AND MOTION FOR STAY OF
18     BIG BANG VAPE CO., LLC, a                    ACTION
       Georgia limited liability company;
19     UNIFIED VAPE DISTRIBUTION,
20     INC., a Georgia corporation; TRUE
       LAB CREATIONS, INC. a Georgia
21     corporation; TAYLOR CRAIG, an                Date:      June 3, 2019
22     individual; and DOES 1 through 10,           Time:      1:30 p.m.
       inclusive,                                   Crtrm.:    7D
23
                    Defendants.
24
25     AND RELATED COUNTERCLAIMS.

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                         NOTICE OF MOTION AND MOTION FOR STAY OF ACTION
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 1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE THAT on June 3, 2019, at 1:30 p.m., or as soon
 3     thereafter as this matter can be heard before the Honorable Dale S. Fischer of the United
 4     States District Court for the Central District of California, at First Street Courthouse, 350
 5     West First Street, Courtroom 7D, Los Angeles, CA 90012-4565, Defendants Big Bang
 6     Vape Co., LLC (“Big Bang”), Unified Vape Distribution, Inc., True Lab Creations, Inc.,
 7     and Taylor Craig will and hereby do move this Court to stay this action pending the
 8     outcome of Mike Sarieddine v. Alien Visions E-Juice, Inc., et al.; Case No. 2:18-cv-3658-
 9     PA-MAA (Hon. Percy Anderson), United States District Court, Central District of
10     California.
11           This motion requests that the Court exercise its inherent power to manage the
12     dockets and stay proceedings. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Plaintiff’s
13     action against Defendants concerns the exact same marks at issue in another action Plaintiff
14     brought in this district against Alien Visions E-Juice, Inc., referenced above (the “Alien
15     Visions Action”). In the Alien Visions Action, the Judge Anderson recently entered an
16     order finding that Alien Vision established priority of use of the subject trademarks marks
17     and as a result, Plaintiff cannot maintain an action for infringement. Plaintiff and Alien
18     Visions then stipulated to the final remaining issue. As a result, Judge Anderson then
19     canceled Plaintiff’s marks in the Alien Visions Action. Thus, the resolution of the Alien
20     Visions Action has mooted most of Plaintiff’s claims before the Court.
21           This Motion is made following the conference of counsel pursuant to L.R. 7-3 which
22     took place on April 16, 2019. Plaintiff opposes this motion.
23           In support of this Motion, Defendants rely on this Notice, the accompanying
24     Memorandum of Points and Authorities, the pleadings and papers on file in this action, any
25     ///
26     ///
27     ///
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                          NOTICE OF MOTION AND MOTION FOR STAY OF ACTION
     Case 2:17-cv-00989-DSF-SK Document 179 Filed 04/29/19 Page 3 of 3 Page ID #:3697



 1     arguments of counsel at any hearings scheduled by the Court in connection with this
 2     Motion, and any such further evidence and material that the Court may allow.
 3
 4     Dated: April 29, 2019                ONE LLP
 5
 6                                       /s/John E. Lord________________
                                         John E. Lord
 7
                                         TAYLOR ENGLISH DUMA LLP
 8
 9                                       Amanda G. Hyland (admitted pro hac vice)
                                         W. Scott Creasman (admitted pro hac vice)
10                                       Seth K. Trimble (admitted pro hac vice)
11                                       Attorneys for Defendants
                                         Big Bang Vape Co., LLC, Unified Vape Distribution,
12                                       Inc., True Lab Creations, Inc., and Taylor Craig
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                         NOTICE OF MOTION AND MOTION FOR STAY OF ACTION
